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                In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0415V
                                      (Not to be published)

*****************************
JACQUELINE DEBERRY,         *
                            *
                Petitioner, *                                      Filed: October 16, 2019
                            *
          v.                *                                      Decision by Stipulation; Damages;
                            *                                      Influenza (“Flu”) Vaccine.
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
*****************************

Amy A. Senerth, Muller Brazil, LLP, Drescher, PA, for Petitioner.

Mollie Danielle Gorney, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

       On March 23, 2017, Petitioner Jacqueline Deberry filed a petition seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Petition,
ECF No. 1. Petitioner alleges that she sustained a left shoulder injury related to vaccination
administration (“SIRVA”) as a result of receiving an influenza (“flu”) vaccination on October 6,
2015. See Stipulation ¶ 2, 4, dated October 16, 2019 (ECF No. 62); See also Petition.



1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the ruling will be available to anyone with access to the internet. As provided
by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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        Respondent denies “that [P]etitioner sustained a SIRVA Table injury, denies that the flu
vaccine caused [P]etitioner to suffer a left shoulder SIRVA, and denies that the flu vaccine caused
any other injury or [P]etitioner’s current condition.” See Stipulation ¶ 6. Nonetheless both parties,
while maintaining their above-stated positions, agreed in a stipulation filed October 16, 2019 that
the issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

               a lump sum of $67,821.40 in the form of a check payable to [P]etitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk
of the court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.

                                                  2
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